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                                                                                                                               FILED
      ""AD 245B (CASD) (Rev. 8/11)      Judgment in a Criminal Case
                  Sheet I




                                                    UNITED STATES DISTRICT Co
                                                      SOUTHERN DISTRICT OF CALlFORNIAA--1L.-+-_~~
                        UNITED STATES OF AMERlCA                                             JUDGMENT IN A CRIMINAL CASE
                                              v.                                             (For Offenses Committed On or After November 1, 1987)

                               JORGE MAGANA (~2)                                             Case Number: 09CR 1209-H
                                                                                              Joan Kerry Bader
                                                                                             Defendant's Attorney
     REGISTRATION NO. 13906-298

     D
     THE DEFENDANT:
     ~ pleaded gUilty to count(s) 18 onlle Superseding Indictment.

      D was found gUilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
      Title & Section                              Nature of Offense                                                                       Number(s)
18 USC 1014 and 2 and                       FALSE STATEMENTS ON A LOAN APPLICATION                                                          18
Pinkerton v. United States
328 U.S. 640 (1946)




        The defendant is sentenced as provided in pages 2 through ___4_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
                                                                   ---------------------------------------------
  ~ Count(Slin the underlying Indictment, counts I. 2. 3, 4, 5,6, 17 oftbe Superseding Indictment is D
                                                                                   are ~ dismissed on the motion of the United States.
  ~ Assessment; $100.00



  ~ Finc waived                                           D Forfeiture pursuant to order filed
                                                                                                          ----------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States attomey for this district within 30 days of any change of name, residence.
 or mailing address until all Hnes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall noti(v the COUli and United States attorney of any material change in the defendant's economic circumstanees.

                                                                                        DECEMBER 19.2011




                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                                                                                 09CRl209-H
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AO 245B (CASD) (Rev. 8/11)   Judgment in fl Crimina! Case
            Sheet 2   Imprisonment
                                                                                                  Judgment ~ Page _..;;.2_   of
 DEFENDANT: JORGE MAGANA (22)
 CASE NUMBER: 09CR1209-H
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         THIRTY DAYS



    o Sentence imposed pursuant to Title 8 USC Section 1326Ib).
    o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                      Oa.m.    0 p.m.     on
                as notified by the United States Marshal.

     X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           X before or on Friday February 3, 2012 by 12:00 PM
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                      to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STArES MARSHAL

                                                                       By
                                                                            ------~D~E~P~U~TY~UN~:~Jr~E~D~s~TA~T~E~.S~M~A-R-S~H-A-L---------




                                                                                                                                  09CR1209-H
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AD 245B (CASD) (Rev. 8/11) Judgment In a Criminal Casc
           Sheet 3 - Supervised Release
                                                                                                                Judgment   Page   - L - of           4

DEFENDANT: JORGE MAGANA (22)                                                                            G
CASE NUMBER: 09CR 1209-H
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a ~ontrolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodlc drug !ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.
D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shaH cooperate in the collection of a DNA sample from the defendant. pursuant to section,} of the DNA lI.nalysis
        Backlog Elimination Act of2QOO. pursual1tto 18LJS!=, sectionsJ,563(a)(7) ,!nd 3583(d).        ._ .              . . . . . . . '"
        Thc defendant shalle0ll1ply with the req\llremellts of the Sex Oftender RegIstratIOn and NotItIcatlOll Act (42 L.S.C. § 1690 I. et seq.) as lhreded
        by the probation officer, the Bureau of Prisons. or any statc sex otTender registration agency in which he or she resides, works. is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such tme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
 any special conditions imposed.

                                          STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view ofthe probation officer;
  II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permiSSion of the court; and
  13)     as directed by the pro.batlon officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record Or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

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        AO 245B (CASD) (Rev, 8/11) Judgment in a Criminal Case
                   Sheel4    Special Conditions
                                                                                                         Judgment, Page   ---1- of _.....::4_ __
        DEFENDANT: JORGE MAGANA (22)                                                                II
        CASE NUMBER: 09CR1209-H




                                              SPECIAL CONDITIONS OF SUPERVISION
1X'1 Submit person. residence. office or vehicle to a search. conducted by a United States Probation Officer at a rea,sonable tirr:e and in a
                                                                                                                                          ,
, 'reasonable manner, based upon reasonable suspicion of contraband or evidence of a vIOlatIOn of a conciltlOn of release; fmlure to suhmlt to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported. excluded, or allowed to voluntarily return to country of origin, not reenter the Unit.ed States illegally and report to the probation
    officer with 24      hours of any reentry to the United States: supervision waived llpon deportation. exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers,
D Not reenter the United States illegally.
D 1':ot enter or reside in the Republic of Mexico without written permission of the Court or probation oftlccr.
D Report all vehicles owned or operated, or in which you have an interest. to the probation officee
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of. or dealers in narcotics, controlled substances. or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
    repOit and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
    release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
    rendered in an amoLlnt to be determined by the probation oflicer, based on the defendam's ability to pay.


D Take no medication containing a controlled substance without valid medical prescription. and provide proof of preseription to the probation
    oflicer, if directed.
IKJ Provide complete disclosure of personal and business financial records to the probation officer as requestcd,
D Be prohibited from opening checking accounts or incurring new credit chargcs or opening a<.iditionallinc5 of credit without approval of Illc
    probation officer.

D Seek and maintain full timc employment andlor schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approvcd by the probation officer within
IX'] Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 5 months.
D Participate in a program of d111g or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider, May be required to
    contribute to the costs of services rendered ill an amount to be determined by the probation oftieer. based on the defendant's ability to pay.




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